Case 8-16-72566-reg Doc 20 Filed 09/28/16 Entered 09/28/16 10:42:53

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re: Case No. 16-72566
PATRICK TEUTONICO Chapter 13

Debtor.

AFFIRMATION PURSUANT TO LOCAL RULE 1009-1(a)
PATRICK TEUTONICO, undersigned debtor herein, affirms as follows:
1. Debtor filed a petition under Chapter 13 of the Bankruptcy Code on June 10, 2016.

2. Filed herewith is an Amended Schedules E/F, I, J and STATEMENT OF
FINANCIAL AFFAIRS (indicate list(s), schedule(s) or statement(s) or statement(s)
being amended) previously filed herein.

3. Annexed hereto is a listing setting forth the specific additions or corrections to, or
deletions from, the affected list(s), schedule(s) or statement(s). The nature of the
change (addition, deletion or correction) is indicated for each creditor or item listed.

4. (If creditor records have been added or deleted, or mailing addresses corrected) An
amended mailing matrix is annexed hereto, reflecting such changes as have been
referred to above.

Dated: September 28, 2016
/s/ Patrick Teutonico
PATRICK. TEUTONICO
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ATTACHMENT / RULE 1009-1 (a)

PATRICK TEUTONICO, Debtor

Case No.: 16-72566
Schedule Amended
Schedule E/F

Schedule |

Schedule J

Statement of Financial Affairs

Amendment
TO INCLUDE NATIONAL GRID & PSEG

CLARIFIED PROJECTED BUSINESS INCOME
AND EXPENSES

CLARIFIED PROJECTED BUSINESS INCOME
AND EXPENSES

QUESTION 4 TO SHOW YTD 2016 AND 2015
GROSS INCOME FROM BUSINESS
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O2ZBN6 10:22AM

 

Fill in this information to identify your case:

 

 

| Debtor 1

:  Miiddie Name Lasl Name

: Debtor 2 pep gg ng eves vag es
| (Spouse if, filing) First Name Middie Name Last Name

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

‘Case number 8-16-72566

| keown) Check if this is an

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible, Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could resuit in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Bo not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number {if known}.

GEIGER List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

 

MB No. Go to Part 2.

C1] Yes.
List Ail of Your NONPRIORITY Unsecured Claims _
3. Do any creditors have nonpriority unsecured claims against you?

(I No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Ml ves,

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor whe holds each claim. !f a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, tist the other creditors in Part 3,#f you have more than three nonpriority unsecured claims fill out the Costinuation Page of

Par 2.
Total claim

44° 4st Crd Srve Last 4 digits of accountnumber 7992 $60.00
~ Nonpriority Creditors Name es a : coe anti hantot

377 Hoes Lane When was the debt incurred?

Piscataway, NJ08854

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

Mi Debtor + only (2) contingent

(J) Debtor 2 only C7 Untiquidated

CT] Debtor 1 and Debtor 2 only C1 disputed

7 At jeast one of the debtors and another Type of NONPRIORITY unsecured claim:

(J Check jf this claim is fora community Ci student loans

debt C1 obtigations arising out of a separation agreement or divorce that you did not

is the claim subject to offset? report as priority claims

Mio CO Debts to pension or profit-sharing pians, and other similar debts

H Yes M other. speciy Retro Fitness Farmingdale _

 

 

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 7
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Debtor 1 Patrick N. Teutonico Case number (itknow} —8-16-72566
42. American Mobile Home Leas ___—Last 4 digits of account number $5,043.00
Nonpricrity Creditors Name SUMS.
250 Orchard Road When was the debt incurred? 2016
Patchogue, NY 11772
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
M bebtor 4 only Cl Contingent
(7 Debtor 2 only 0 unliquidated
[J Debtor 1 and Debtor 2 only CZ Disputed
17] At least one of the debtors and another Type of NONPRIORITY unsecured claim:
(J) Check if this claim is fora community CF Student foans
debt [7 obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as oriority claims
Mo Ci Debts to pension or profit-sharing plans, and other similar debts
Pl yes Mi other. Specity Mobile Home rental
43°) BankofAmerica Last 4 digits of account number 0230 $41,046.00
Nonpriority Creditors Name ees
PO Box 15019 When was the debt incurred? 2012-2016
Wilmington, DE 19886
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ Debtor 1 only C) contingent
C) pebtor 2 only C1 Unliquidated
C1 Debtor 1 and Debtor 2 only C] Disputed
(7) at least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO Check if this claim is for a community {1 Student loans
debt a Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
Mi No (Hi Debts to pension or profit-sharing plans, and other similar debts
Cl Yes Mother. Specty ernest
a4 | Chase Business Line of Cr _ Last 4 digits of accountnumber 0001 Unknown
Nonpriority Crecitor's Name eee
PO Box 6026, Mailcode IL1 When was the debt incurred?
IL1-0054
Chicago, IL 60686
Number Street City State Zlp Cade As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
C bebtor 1 only Ml contingent
[] pBebtor 2 only a Unliquidated
J] Debtor 1 and Debtor 2 only MW disputed
Wi at least one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is fora community C1 Student loans
debt (J Objigations arising out cf a separation agreement ar civorce that you did not
Is the claim subject to offset? report as priozity claims
MNo [] Debts to pension or profit-sharing plans, and other similar debts
Business Lime of Credit for Fullcomm
* Corp. personally guaranteed by Debtor and
LI Yes Other. Specify 2 other individuals
Officiat Form 106 E/F Schedule E/F; Creditors Who Have Unsecured Claims Page 2 of 7

Best Case Bankruptey
Debtor! PatrickN.Teutonico

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Official Form 106 E/F
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Case 8-16-72566-reg

Donnie Pate i coccceessnnnnrnn
Nonpriority Creditor's Name

clo Law Office of Hilton
244 Fifth Avenue A-176,
New York, NY 10001

“Number Street City State Zip Code

Who incurred the debt? Check one.
 pebtor 1 only

(1 Debtor 2 only

(1 Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

OO Check if this claim is for a community
debt

Is the claim subject to offset?

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Case number (if know)

Last 4 digits of account number

_ $152,298.83
When was the debt incurred? = April 7, 2016

As of the date you file, the claim is: Check ai that apoly

a Contingent

WF Untiquidated

a Disputed

Type of NONPRIORITY unsecured claim:
C stugent loans

fl Obligations arising out of a separation agreement or divorce that you cid not
report as priority claims

 

 

 

 

ino C) Debts to pension or profit-sharing plans, and other similar debts
Arbitration Award . FINRA Dispute

1 Yes Ml other. Specity Resolution Arbitration Number 15-00180. _

FINRA - _ Last 4 digits of account number $3,487.00
Nonpriority Greditor's Name eee
PO Box 448911 When was the debt incurred?

Boston, MA 02241

Number Street City State Zip Code As of the date you file, the claim is: Check all that appty

Who incurred the debt? Check one.

Ml Debtor 1 only C1 contingent

C1 Debtor 2 only C untiguidated

C1 Debtor 1 and Debtor 2 only O Disputed

C1 At feast one of the debtors and another Type of NONPRIORITY unsecured claim:

[1] Check if this claim is fora community C] student loans

debt a] Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

ino CF bents io pension or profit-sharing plans, and other similar debts

FINRA Arbitration fee Matthew DiGregio

Cl ves Mother. Specify 4300570-858395

FINRA... usu bast digits of account number $9,400.00
Nonpriority Creditors Name ee
PO Box 418911 When was the debt incurred?
Boston, MA 02244 owns

Number Street City State Zip Code As of the date you file, the claim is: Check all that appiy

Who incurred the debt? Check one.

R debtor 4 only oO Contingent

[CJ Debtor 2 only (] Uniiquidated

C Debtor 4 and Debtor 2 only C1 pisputed

oO At least one of the debtors and another Type of NONPRIORITY unsecured claim:

Cl] Check if this claim is for a community CJ student loans

debt [1 obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

Eno CT petts to pension or profit-sharing plans, and other similar debts

1 ves M other. Specify Donnie Pate case. FINRA Arbitration Fees. _

Schedule E/F; Creditors Who Have Unsecured Ciaims Page 3 of 7

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Debtor 1 Patrick N. Teutonico _ Case number (itknow) 8-16 -7 2566
FINRA oo Last 4 digits of account number $6,000.00
“Nonpriority Crecitor’s Name —
PO Box 418911 When was the debt incurred?
Boston, MA 02241
Number Street Clty State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Mi pedtor 1 only [7 contingent
( debtor 2 only C1] unliquidated
C] pevtor 4 and Debtor 2 only O Disputed
[7] At least one of the debters and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is for a community C1 Student loans
debt C1 Obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino C1 Debts to pension or profit-sharing plans, and other similar debts
FINRA filing fees and hearing fee Jeffrey
Dyes Mother. Speciy Richards
Mack Roofing Last 4 digits of account number $9,000.00
siotity Creditor's Name TT al tinct
62 Brahm Ave. When was the debt incurred?
Amityville, NY 14700
Nurnber Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MF bebtor 1 only Oo Contingent
(1 Debtor 2 only 1 unliquidated
(J Debter 1 and Debtor 2 only Oo Disputed
7] At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CJ Check if this claim is fora community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino C1 Debts to pension or profit-sharing plans, and other similar debts
Siding at 4 West Orlando St., Massapequa,
ET ves Ml other. Specify NY 14758
Matthew Digregorio Last 4 digits of account number $0.00
“Nonpriority Creditor's Name - ee — a
328 Perkins Ave. When was the debt incurred? 2010
Oceanside,NY 11572
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MF pedtor 1 only 0 Comingent
C1] pebtor 2 only (3 Untiquidated
C] Debtor + and Debtor 2 only DC disputed
(1 At least one of the debtors and another Type of NONPRIORITY unsecured ciaim:
(J Check if this claim is fora community [J student loans
debt Cl Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
Mio D pebis to pension or profit-sharing plans, and other similar debts
ves @ other. Specify
Schedule E/F; Creditors Who Have Unsecured Claims Page 4 of 7

Official Form 166 E/F
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Best Case Bankruptcy
Case 8-16-72566-reg

Debtor! Patrick N.Teutonico

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Case number (if know) 8-16-7 2566

 

 

 

 

 

 

 

Michael D. Hammel Last 4 digits of account number $0.00
‘Nonpriority Creditor's Name _—
clo Shepherd Smith Edward When was the debt incurred?
1010 Lamar, Suite 900
Houston, TX 77002 an
Number Street City State Zip Code As of the date you file, the clalm is: Check all that apply
Who incurred the debt? Check one.
DO Debtor 1 only Hi Contingent
C1] Debtor 2 only = Unliguidatec
Cl debtor 1 and Debtor 2 only @ Disputed
Mf at least one of the debtors and another Type of NONPRIORITY unsecured claim:
(1 Check if this claim is fora community C1 Student loans
debt CI Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino Ti Dents to pension or profit-sharing plans, and other similar debts

FINRA Arbitration. On behalf of Obsidian

Financial Group, LLC and Stephen Grivas.

Case No. 15-00156. Pending. Hearing
Cl ves M other. Specty Scheduled for 6/28/16.
National Grid Last 4 digits of account number $300.52
Nonpriority Greditor’s Name eee
PO Box 11791 When was the debt incurred?
Newark,NJ 07101)
Number Street City State Zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
a Debtor 1 only C) Contingent
[1 Debtor 2 only [J untiquidated
EC] Debtor 1 and Debtor 2 only EF Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is fora community (J Student loans
debt | Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
a No C1 Debts to pension or profit-sharing plans, and other similar debts
C] Yes WA other. Specify
PSEGLI _ Last 4 digits of account number $648.31

“Nonpriority Creditor's Name : —
PO Box 888 When was the debt incurred?
Hicksville, NY 11780200
Number Street City State Zip Code As of the date you file, the claim is: Gheck all that apply
Who incurred the debt? Check one.
WE pebtor 1 only C1 Contingent
(] Bebtor 2 only [1] unliquidated
C) pebtor 1 and Debtor 2 only C Disputed
[1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
(J Check if this claim is for a community [1 Student ioans
debt C] Obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bayo CJ Debts to pension of profit-sharing plans, and other similar debts
[Yes Mi other. Specify
Schedule E/F: Creditors Who Have Unsecured Ciaims Page 5 of 7

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Official Form 106 E/F
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Debtor 1 Patrick N. Teutonico Case number {itxnow) 8-16 -7 2566
RichardLong Last 4 digits of account number Unknown
Nonpriority Creditor's Name woes
cio Hilton Weiner, Esq. When was the debt incurred? 6/8/15
244 Fifth Avenue, Suite A
New York, NY 10001
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.

T Debtor 1 oniy H Contingent

(J Debtor 2 only a Untiquidated

(J Debtor 1 and Debtor 2 only WH disputed

WF A: least one of the debtors and another Type of NONPRIORITY unsecured claim:

(J Check if this claim is fora community C] student foans

debt [1 Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

Myo CF Debts to pension or orefit-sharing plans, and other similar debts

Claim submitted to FINRA. FINRA No.
15-01415. Pending hearing scheduled for

0 Yes M other. Specify 7/47/16.

Russell Wilson Last 4 digits of account number Unknown
Nonpriority Creditor's Name eee
clo Hilton Weiner, Esq. When was the debt incurred?

244 Fifth Avenue, Suite A
New York, NY 10001

Number Street City State Zlp Cade As of the date you file, the claim is: Check ail that apply

Who incurred the debt? Check one.

C) Debtor 1 only Mi contingent

CO Debtor 2 only i Uniiquidated

(J Debtor 1 and Debtor 2 only Mi bisputed

WF At least one of the debtors and another Type of NONPRIORITY unsecured claim:

C] Check if this claim is for a community C1 Student toans

debt (1 obtigations arising out of a separation agreement or divorce that you did not

is the claim subject to offset? report as oriority claims

Bo Cl debts to pension or profit-sharing plans, and other similar debis

" FINRA Arbitration Claim No. 15-01410.

Ces Other. Specify pending no hearing scheduled. _

USAA Credit Card Last 4 digits of accountnumber 2403 $4,799.00
“Nenatiovity Grediér's Namen ecvatie esse aa dossintintitapuntnoniernes
10750 McDermott Frwy When was the debt incurred? 2015-16
San Antonio, TX 78288

Number Street City State Zlp Code As of the date you file, the claim is: Check ali that apply

Who incurred the debt? Check one.

Mi bebtor 1 only (J contingent

(I Debtor 2 only C1 Untiquidated

C1 Debtor 1 and Debtor 2 only CJ Disputed

TJ At least one ef the debtors and another Type of NONPRIORITY unsecured claim:

Cl Check if this claim is fora community C1 student loans

debt C Obligations arising out of a separation agreement or divorce that you did not

Is the claim subject to offset? report as priority claims

Bio Cl Debts to pension or profit-sharing plans, and other similar debts

Lives M otner. Speciy credit card

Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 7

Best Case Bankruptey
 

Debtor 1 Patrick N. Teutonico

Case 8-16-72566-reg

William H. Kennedy
‘Nonpriority Creditors Name
c/o Stoltmann Law Offices
10 South laSalle St.,

Suite 3500
Chicago, IL 60603)
Number Street City State Zlp Code
Who incurred the debt? Check one.
C1 Debtor 4 only

CI Debtor 2 oniy

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8/2816 10:22AM

Case number (it know) 8-16-72566

Last 4 digits of account number Unknown

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply

a Contingent

Untiquidated

C1 Debtor 1 and Debtor 2 only I pisputed

Type of NONPRIORITY unsecured claim:
C1 student loans

WB At least one of the debtors and another

CE Check if this claim is fora community

debt C1 obligations arising out of a separation agreement or divoree that you did not
Is the claim subject to offset? report as priority claims

Bno C1) debts to pension or profit-sharing plans, and other similar debts
_ FINRA Arbitration No. . Pending.
1 Yes M other. Specify Hearing Scheduled 2/2617

LTERIE List Others to Be Notified About a Debt That You Already Listed ces sums vernevunvuv ss vy vat uu aman
5, Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2, For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you

have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. if you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

GERM Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159, Add the amounts for each
type of unsecured claim.

 

 

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total sone tn times tannins AE
claims
from Part 1 6b. Taxes and certain other debts you owe the government 6b. § 0.00
: 6c. Claims for death or personal injury while you were intoxicated 6c. 5 : ~ 0.00
Gd, Other. Add all other priority unsecured claims. Write that amounthere. 6d. $ © §.09°
Ge. Total Priority. Add lines 6a through 6d. Ge. | § 0.00
Total Claim
6f. Student loans Bt. $ 0.00
Total eevee se setae ate
’ glaims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that
Se you did not report as priority claims 8g. $ a 9,00,
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 6.00
6. Other. jori ims. Wri i ee 49 ARO OE
pane Add alt other nonpriority unsecured claims. Write that amount 6i 5 232,082.66

 

6]. Total Nonpriority. Add fines 6f through Gi. 3. | $ 232,082.66

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims
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AM RUIRCR CRIN IeL =O Ue OR ele d

Debtor 4 Patrick N.Teutonico

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court forthe: EASTERN DISTRICT OF NEW YORK

‘Case number 8-16-72566 | Check if this is:

(if known)

Mi An amended fiting
1 Asupplement showing postpetition chapter
43 income as of the following date:

Official Form 106l MMTDDIYYYY
Schedule |: Your Income 42/18

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for __
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

   

   
     

 

 

GENSRMMME Describe Employment eee gan
1. Fillin your employment
information. ane a
If you have more than one job, Mi Employed C] Empioyed
attach a separate page with Emptoyment status =
information about additional 1 Not employed Not employed
employers, .
Occupation Stock Broker 0.
Include part-time, seasonal, or . . .
self-employed work. Network 1 Financial Securities
Employer's name Inc.
Occupation may include student
or homemaker, if it applies. Employer's address

How long employed there?

Give Details About Monthly Income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

    

ntiling spouse —

List monthly gross wages, salary, and commissions (before all payroll

 

2. deductions). If net paid monthly, calculate what the monthly wage would be. 2, $ ae 0.00 $ oe 9.00,
3. Estimate and list monthly overtime pay. 3. +$ 0.00,
4. Calculate gross Income. Add line 2 + line 3. 4. ! $ 0.00 :

 

Official Form 1061 Schedule 1: Your Income page |
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Debtor? Patrick N. T@UtOMICO i cssnsmnmnnnmnnnnnnnnnity nana Case number ifknown) 8-16-72566

10.

11.

12.

13.

 

Copy line 4 here oo 4.

List alf payrotl deductions:

  

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a, §$ 0.00 6 «6$
5b. Mandatory contributions for retirement plans 5b, S$ 0.00
5c. Voluntary contributions for retirement plans 5c. S$ 0.00 S$ |
5d. Required repayments of retirement fund loans Sd 3 0.00 S$
Se. Insurance Se $ 0.00 $
5f. Domestic support obligations 5. § “9.00 $
5g. Union dues 5g. $ $
5h. Other deductions. Specify: ee oe eh ee
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6 F 6.00 §$
Calculate total monthly take-home pay. Subtract line 6 from line 4. % S$ 0.00 §$
List ali other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income, 8a. §$ 12,028.00 %
8b. Interest and dividends & $ 09000 $  —
8c. Family support payments that you, a non-filing spouse, or a dependent ee ,
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settiement, and property settlement. &. § 0.00 $ 0.00
8d. Unemployment compensation éd. $ 6.00 S$ 0.00
8e. Social Security fe. $ O00 $ | ~ 0.00
8f. Other government assistance that you regularly receive eee — a
Include cash assistance and the value {if known) of any non-cash assistance
ihat you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program} or housing subsidies.
Specify: af § con: 9
8g. Pension or retirement income rms gm oOo OS
8h. Other monthty income. Specify: be So 9,00 $0 ""8.00-
Add ail other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 12,028.00 |

   

Calculate monthly income. Add line 7 + line 9. 10. |
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.

De not include any amounts already included in lines 2-10 or amounts that are not availabie to pay expenses listed in Schedule J.
i 7 a sesso Wo +8 0,00

 

 

i

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. i
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilifies and Related Data, if it ! :
Combined
monthly income
Do you expect an increase or decrease within the year after you file this form?

| No.
0 Yes. Explain:

 

 

Official Form 106] Schedule L: Your Income page 2
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et MMM) Ce OM ecTA LN me elem B

: Debtor 1 ; Patrick N. Teutonico oe - Check if this is:

m An amended filing

Debtor 2 — — Co oo. [] Asupplement showing postpetition chapter
| (Spouse, if filing) i 13 expenses as of the following date:
‘United States Bankruptcy Court for the: EASTERN DISTRICTOFNEWYORK => MM/DDIYYYY

‘Case number 8-16-72566 _ a

(If known}

Official Form 106J
Schedule J: Your Expenses etn 12146
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number {if Known}. Answer every question.
Describe Your Household
1. is this a joint case?

HE No. Go to tine 2.
CJ Yes. Does Debtor 2 live ina separate household?

[No
(1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyouhave dependents? M! No

 

Do not jist Debtor 1 and O Yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
LE Rs = Eee

Do not state the Ci No
dependents names. CO] Yes

CO No

Cl Yes

[J No

C1] Yes

C1 No

Cl Yes

3. Do your expenses include MNo

expenses of people other than cy

yourself and your dependents? Yes

GEESE Estimate Your Ongoing Monthly Expenses a 7 _ -
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have inciuded it on Schedule i: Your income
(Official Form 106i.)

 

4, The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. BB uss sunnmnnn 3,600.00

If not included in line 4:

4a. Real estate taxes 4a. $ 6.00
4b. Property, homeowner's, or renter’s insurance ab. §$ "9,00
4c. Home maintenance, repair, and upkeep expenses 4c. § "9.00
4d. Homeowner's association or condominium dues 4d. $ “"0.00_
5. Additional mortgage payments for your residence, such as home equity loans 5. $ ~~ 296.00

Official Form 106J Schedule J: Your Expenses page 7
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Debtor Patrick N. Teutomico i cosemnmnns vse Case number (ifknown) 8-16 -72566
6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 406.00
6b. Water, sewer, garbage collection 6b. $ "0.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 0.00.
6d, Other. Specify: National Grid enter nen OF SL 400.00,
Triple Play 5 275,00.
Cell $ 230.00,
7. Food and housekeeping supplies ~ 7.5 4200.00
8. Childcare and children’s education costs 8 3 "675.00.
9. Clothing, laundry, and dry cleaning 9. $ ~~ "400.00
10. Personal care products and services 10. 3 4150.00.
11. Medical and dental expenses 1. $ ~""9.00-
12. Transportation. include gas, maintenance, bus or train fare. _
Do not include car payments. 12. $ . 800.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. § 0.00
14. Charitable contributions and religious donations 14.9 — 0.00
15. Insurance. ~ —
Do not include insurance deducted from your pay or included in lines 4 or 20,
15a. Life insurance 15a. §$ 0.00
i5b, Health insurance 15b. $0 "4 400.00
18c. Vehicle insurance 15c. $ "395.00
18d. Other insurance. Specify: Boat insurance 16d. $ "475.00.
16. Taxes. Do not include taxes deducted from your pay or included in fines 4or20. oo
Specify: 16. $ 0.00
17. Installment or léase payrmentee °° mee ns eth:
17a. Car payments for Vehicle 1 j7a. $
17b. Car payments for Vehicle 2 17>. $
17c. Other. Specify: 17. $
17d. Other. Specify. eso ntetsniehanee ems pag
18. Your payments of alimony, maintenance, and support that you did not reportas .
deducted from your pay on line &, Schedule |, Your Income (Official Form 1061). 18. $
19. Other payments you make to support others who do not live with you. $
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. §$
20b. Real estate taxes 20b. $
20c. Property, homeowner's, or renter's insurance 20c. §$
20d, Maintenance, repair, and upkeep expenses 20d. §
20e. Homeowner's association or condominium dues 20e. $
21. Other: Specify: 21 +f 000
22. Calculate your monthly expenses
22a. Add lines 4 through 21, | $ 10,421.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 a: ‘
22c. Add line 22a and 22b. The result is your monthly expenses, $ — 10,424 60 |
23. Calculate your monthly net income. —_ —
23a. Copy line 12 (your combined monthly income) from Schedule 1. 23a. $ 12,028.00
23b. Copy your monthly expenses from line 22¢ above. 23b. $ 40,421.00
2ac, Subtract your monthly expenses from your monthly income. i i
The result is your monthiy net income. ” 23c. $ coe cuits ans ee 1,607.00 |

 

24, Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your morgage payment to increase or decrease because of a
modification to the terms of your mortgage?

MH No. oo.
Cl Yes. Explain here:

 

 

Official Form 106J Schedule J: Your Expenses page 2
Case 8-16-72566-reg Doc 20 Filed 09/28/16 Entered 09/28/16 10:42:53

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Fill in this information to identify your case:

 

_ Debtor 1 Patrick N. Teutonico oo .

| Fata nD NSB ‘asi Weins

Debtor 2 seen etna nti tininniinnnntnniein een
“(Spouse i. ing) sigak Nam RRS a Ne

| United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number 8.16-72566

(# known}

Mi Check if this is an
amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy AIG

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number {if known). Answer every question.

GEER Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

Ml Married
[Not married

2, During the last 3 years, have you lived anywhere other than where you live now?

M No

[1 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
staies and territories include Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.}

Wo No
[ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
[ No
MW Yes. Fill in the details.

Debtor 1. oo en pebton®. coke cotks Deas
Sources ofincome .... Grossincome .-  — Sourcesofincome Gross income
Check all that apply. = (before deductions and Check allthatapply. . °° (before deductions
exclusions} a . and exclusions)
From January 1 of current year until [] Wages, commissions, $137,626.00 (1) Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
ME Operating a business CL] Operating a business
Official Form 107 Statement of Financial Affairs for lndividuats Filing for Bankruptcy page 1

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Case 8-16-72566-reg Doc 20 Filed 09/28/16 Entered 09/28/16 10:42:53

 

Of28/16 10:23AM
Debtor 1 Patrick N. Teutonico conten Case number (iknow) 8-16-72566
Debtor] vols coeiinin (Debtor2 ocrccn ois or
Sources of income Gross income : Sources of income Gross income
Check all that apply... {before deductions and Check all that apply. {before deductions
exclusions) , and exclusions}
For last catendar year: C1 Wages, commissions, $222,850.00 (1 Wages, commissions,
(January 1 to December 31, 2015 } bonuses, tips bonuses, tips
Ml Operating a business [7 Operating a business
For the calendar year before that: C3 Wages, commissions, Unknown =] Wages, commissions,

{January 7 to December 31, 2014 } bonuses, tips bonuses, tips

Wf Operating a business [] Operating a business
§. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,

and other public benefit payments; pensions; rental income; interest, dividends; money collected from lawsuits, royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 4.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

M No
Yes. Fill in the details.
Debtor 42.0 8  Debtor:2 fo
Sources of income - Gross income from . . Sources of income Gross income
Describe below. . “- “gach source ‘Describe below. (before deductions
: (before deductions and . . and exclusions)

exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy _

 

6, Are either Debtor t’s or Debtor 2’s debts primarily consumer debts?

11 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts, Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or househald purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

CI No. Go to line 7.

Ll Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

Ml Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

MNo. Goto line 7.

Cl Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address ‘ Dates of payment . Total amount Amount you Was this payment for ...
paid still owe
Official Form 407 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

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9/28/36 10:23AM

Debtor1 Patrick N. Teutonico Case number (irknown) 8-16-72566

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; parinerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations, such as child support and

alimony.

M@ No
(Yes. List all payments to an insider.
Insider's Name and Address

Dates of payment

Total amount

Amount you
paid still owe

Reason for this payment

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an

insider?

Include payments on debts guaranteed or cosigned by an insider.

Mi No
Yes, List all payments to an insider
insider's Name and.Address

Dates of payment

. Fotal amount

E2NZEME identify Legat Actions, Repossessions, and Foreclosures

9.

Official Form 107

Amount you
paid still owe

Reason for this payment
include creditor's name

Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ail such matters, including personal injury cases, smail claims actions, divorces, collection suits, paternity actions, support or custody

modifications, and contract disputes.

O No
M Yes. Fill in the details.
Case title , Nature of the case Court or agency Status of the case

Case number

 

 

 

 

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Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

Matthew Digregorio v. Patrick contract Supreme Court Nassau @ Pending
Teutonico and Michael Regina. County [1 On appeal
Supreme Court Nassau County {i Conciuded
40-007608
Donnie Pate v. Patrick Teutonico, FINRA arbitration FINRA [] Pending
etal resulting in an PO Box 418914 Mi On appeal
FINRA #15-00180 arbitration award Boston, MA 02241 CO Concluded

of $152,298.83

which Debtor

intends to

challenge either

civilly outside

Bankruptcy Court

or by way of an

adversary

proceeding.
Michael D. Hammell v. Patrick FINRA arbitration, FINRA Wi Pending
Teutonico, et ai. Pending. Hearing PO Box 418911 CI On appeat
FINRA # 15-00156 scheduled for Boston, MA 02241 C] Concluded

6/28/16
Richard Long v. Patrick Teutonico, FINRA Arbitration FINRA M Pending
etal 15-01415. PO Box 418911 (C1 on appeal
FINRA # 15-01415 Pending. Hearing Boston, MA 02241 EC) Concluded

scheduled 7iH7/16
William H. Kennedy v. Patrick FINRA Arbitration. FINRA C1 Pending
Teutonico, et al hearing scheduled PO Box 418971 [1 Gn appeal

for 2/26/17. Boston, MA 02241 Concluded

page 3

Best Case Bankruptcy
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Debtor! Patrick N. Teutonico Case number (iknow) 8-16-72566

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the detaiis below.
M No. Go to line 11.
Yes. Fill in the information below.
Creditor Name and Address. - Describe the Property Date Value of the
ee Me ot oe: ‘ a property
Explain what happened - .
11.

Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

HM No
C) Yes. Fill in the details.

Creditor Name and Address. Describe the action the creditor took , Date action was

Amount
taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

@ No
[i Yes

T2iceel List Certain Gifts and Contributions _

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
M No

1 Yes. Fillin the details for each gift.

Gifts with a total value of more than $600. ; Describe the gifts Lo Dates you gave -  ° Malue
per person , De : ms / the gifts

Person to Whom You Gave the Gift and

Address:

14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

WM No
[ Yes. Fillin the details for each gift or contribution.

Gifts or contributions, to charities that total Describe what you contributed Datesyou =. Value
more than $600 oan

a ed ne mo . contributed .
Charity’s Name : , :
Address (Number, Street, City, State and ZIP Code)

EGE List Certaintosses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

@ No
OO Yes. Fill in the details.
Describe the property you lost and Describe any insurance coverage for the loss Date ofyour ~~ ‘Value of property
how the loss occurred - include the amount that insurance has paid. List pending  '08S ne - lost
insurance claims on line 33 of Schedule A/B: Property.
Official Form 107 Statement of Financial Affairs for Individuais Filing for Bankruptcy page 4

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Debtor! PatrickN.Teutonico Case number (irknown) 8-16-72566

GIGRAM (ist Certain Payments or Transfers pw esatnnntetttttate ni

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you

consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

[1 No
Mi Yes. Fill in the details.

Person Who Was Paid 7).  .: Description and value of any property. . Date payment
Address Ce transferred - co : . of transfer was ..
Email or website address ak made -

Person Who Made the Payment, if Not You —

Robert H. Solomon, P.C. Attorney Fees 6.9.16 $7,500.00
24 East Park Avenue

Suite 200

Long Beach, NY 11561

rob@solomonlawyer.com

Amount of
payment

 

Greenpath Credit Counseli $75.00

17. Within 1 year before you fiied for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who

18.

19.

20.

promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

HM No

[i Yes. Fill in the details.

Person Who Was Paid Sah i...) Description and value of any property Date payment ” Amount of

Address - co >) transferred . — or transfer was - payment
: ‘ made

Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

M No
C Yes. Fill in the details,

Person Who Received Transfer, -o. 2. “Description and vatue of | Describe any property or - —_Date transfer was
Address... . . So RS property transferred | -. : payments received or debts made :

paid in exchange
Person's relationship to you

Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

@ No
{] Yes. Fill in the details.

Name oftrust, 2 . Description and value of the property transferred Date Transfer was

made

L2SCEREE List of Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

Inciude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

—M No
Cl] Yes. Fill in the details,

Name of Financial Institution and Last 4 digits of .  Typeofaccountor ~ Date account was _ ‘Last balance
Address (Number, Street, City, State. andZIP_ acount number. —s instrument ' - glosed, sold, . before closing or
Cade} moved, or _” transfer
transferred
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 4

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Best Case Bankruptcy
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Debtor 1 Patrick N. Teutomico i ssnmnnnnnnnn nvr Case number (irknown) B-16-72566

21,

22.

Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

M@ No

[ Yes. Fill in the details,

Name of Financiai institution ' +. “Who else had access to it? Describe the contents Do you stiil
Address (Number, Street, City, State and ZIP Code} Address (Number, Street, ity, , , have it?

State and ZIP Code)

Have you stored property in a storage unit or place other than your home within 4 year before you filed for bankruptcy?

M No
Ci Yes. Fill in the details.
Name of Storage Facility Wino else has or had access - Describe the contents : : .Do you still
Address (Number, Street, City, State and ZIP Goda) : 7. t0gtP : o , . . have it?
. Address (Number, Street, City, : ‘ , : .
State and ZIP Code}

EEGGEREE \dentify Property You Hold or Control for Someone EIS@ oo vmmvmmmee suse sup tees tee

23.

 

Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
for someone.

HoONo

C] Yes. Fiti in the details,

Owner's Name sr." Where is the property?. _, Describe the property. _.-- Malue
Address (Number, Straet, City, State and ZIP Code) {Number, Street, City, State and ZIP : :

Code}

‘Miusitme Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or requlation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soll, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposai sites,

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
M@ No
[3 Yes. Fill in the details.
Nameofsite = =: °°: 8 . c Governmental unit — , ' Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code} : Address (Number, Street, City, State and know it : ne ee
ZIP Code}
25, Have you notified any governmental unit of any release of hazardous material?
M@ No
[} Yes. Fill in the details.
Nameofsite 9... °° SO Governmental unit = =< ~~~ Environmental law, if you ’ Date of notice
Address (Number, Street, City, State and ZIP Cade] Address (Number, Street, City, State and know it co tee es
ZIP Code}
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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9/20/16 123A
Debtor? Patrick N. Teutonic oo oocecse nnn ian, C888 NUMbEr GFknown) 8-4 6.72566

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

ME No

{1 Yes. Fill in the details.

Case Title ee, .: Courtoragency . .  . . Natureofthecase Status of the
Case Number “Names 5. oo. Ls

case
Address (Number, Street, City,

State and ZIP Code}

iene Give Details About Your Business or Connections to Any Business

27, Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
CA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C3 A member of a limited fiability company (LLC)} or limited liability partnership (LLP)
C A partner in a partnership

C1 An officer, director, or managing executive of a corporation
CE] An owner of at least 5% of the voting or equity securities of a corporation
@ No. None of the above applies. Go to Part 12,

O Yes. Check ali that apply 3 above and fill In the details below for each business.

Business Name... ns me Describe the nature of the business '. - Employer Identification number
Address : , Se :

Bo not include, Social Security number or ITIN.
(Number, Street, City, State and zip P Gode) Name of accountant or bookkeeper -

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.
@ No
CO sYes. Fill in the details below.
Name we Date Issued
Address :
(Number, Street, City, State and ZIP Code)
eee Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and ij declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 162, 1344, 1579, and 3577.

‘sf Patrick N. Teutonico

Patrick N. Teutonico nent “Signature of Babtor 2
Signature of Debtor 4
Date September 28,2016 0. Date

 

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?
HENo

(i Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
HNo

(1 Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

Officiaf Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 7
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Best Case Bankruptcy
Case 8-16-72566-reg Doc 20 Filed 09/28/16 Entered 09/28/16 10:42:53

UNITED STATES BANKRUPTCY COURT FOR THE
EASTERN DISTRICT OF NEW YORK RHS 3889

Case No. 16-72566

IN RE:

PATRICK TEUTONICO

Debtor.

 

AMENDED SCHEDULES E/F, I, J and STATEMENT OF FINANCIAL AFFAIRS

 

ROBERT H. SOLOMON
Attorney for Debtor
24 East Park Avenue

Post Office Box 58
Long Beach, NY 11561

(516) 432-1622

 

 
